











Opinion issued January 26, 2006











In The
Court of Appeals
For the
First District of Texas
____________

NO. 01–05–01139–CV
____________

IN RE TYELISA C. SINGLETON, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelator Tyelisa C. Singleton filed a petition for a writ of mandamus asking this
court to direct respondent


 to transfer a suit affecting the parent-child relationship
from Harris County to Travis County.
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for a writ of mandamus. 
PER CURIAM
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Panel consists of Justices Taft, Higley, and Bland.


